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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF OREGON


                                             )
    JEFFERY FOLEY, JULIANNE GRIFFIN, )
    RANDY REYES, and SHLONDA WHITE, ) CIVIL ACTION NO.:
    individually and on behalf of all others )
    similarly situated,                      )
                                             )
                          Plaintiffs,        )
                                             )
                    v.                       )
                                             )
    LEGACY HEALTH, THE BOARD OF              )
    DIRECTORS OF LEGACY HEALTH, and )
    THE LEGACY HEALTH RETIREMENT )
    COMMITTEE,                               )
                                             )
                          Defendants.        )
                                             )

                                          COMPLAINT

       Plaintiffs, Jeffery Foley, Julianne Griffin, Randy Reyes, and Shlonda White (“Plaintiffs”),

by and through their attorneys, on behalf of the Legacy Health 403(b) Plan (the “403(b) Plan”) and

the Legacy Health Defined Contribution Retirement Plan1 (collectively, the 403(b) Plan and the

401(a) Plan are referred to as the “Plans”),2 themselves and all others similarly situated, state and

allege as follows:




1
  Upon information and belief, the Legacy Health Defined Contribution Retirement Plan is also
referred to as the Legacy Health 401(a) Matched Savings Plan. Hereinafter, the Legacy Health
Defined Contribution Retirement Plan is referred to as the “401(a) Plan.”
2
 The Plans are legal entities that can sue and be sued. ERISA § 502(d)(1), 29 U.S.C. § 1132(d)(1).
However, in a breach of fiduciary duty action such as this, the Plans are not a party. Rather,
pursuant to ERISA § 409, and the law interpreting it, the relief requested in this action is for the
benefit of the Plans and their participants.
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I.     INTRODUCTION

       1.      This is a class action brought pursuant to §§ 409 and 502 of the Employee

Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C. §§ 1109 and 1132, against the

Plan’s fiduciary, Legacy Health (“Legacy” or the “Company”), the Board of Directors of Legacy

Health (the “Board”), and the Legacy Health Retirement Committee (the “Committee”)

(collectively, the Company, the Board, and the Committee, are referred to as the “Defendants”)

for breaches of its fiduciary duties.

       2.      The Plans are defined contribution retirement plans, established pursuant to 29

U.S.C. § 1002(2)(A) and § 1002(34) of ERISA, that enable eligible participants to make tax-

deferred contributions from their salaries to the Plans. See Legacy Health Employee Retirement

Guide 2023, Effective Jan. 1, 2023 (“SPD”), at 13 (the 403(b) Plan and 401(a) Plan identified in

Glossary for Defined Contribution Plans.).

       3.      To safeguard plan participants and beneficiaries, ERISA imposes strict fiduciary

duties of loyalty and prudence upon employers and other plan fiduciaries. Fiduciaries must act

“solely in the interest of the participants and beneficiaries,” 29 U.S.C. § 1104(a)(1)(A), with the

“care, skill, prudence, and diligence” that would be expected in managing a plan of similar scope.

29 U.S.C. § 1104(a)(1)(B). These twin fiduciary duties are “the highest known to the law.” Braden

v. Wal-Mart Stores, Inc., 588 F.3d 585, 598 (8th Cir. 2009).

       4.      The Department of Labor (“DOL”) has explicitly stated that employers are held to

a “high standard of care and diligence” and must, among other duties, both “establish a prudent

process for selecting investment options and service providers.” 3; see also Tibble v. Edison Int’l,


3
  See U.S. Dep’t of Labor, A Look at 401(k) Plan Fees, (Sept. 2019), at 2, available at
https://www.dol.gov/sites/dolgov/files/EBSA/about-ebsa/our-activities/resource-
center/publications/a-look-at-401k-plan-fees.pdf (last visited July 24, 2024).

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135 S. Ct. 1823, 1823 (2015) (“Tibble I”) (reaffirming the ongoing fiduciary duty to monitor a

plan’s investment options).

       5.      Under 29 U.S.C. § 1104(a)(1), a plan fiduciary must give substantial consideration

to the cost of investment options. “Wasting beneficiaries’ money is imprudent. In devising and

implementing strategies for the investment and management of trust assets, trustees are obligated

to minimize costs.” Uniform Prudent Investor Act (the “UPIA”), § 7.

       6.      “The Restatement … instructs that ‘cost-conscious management is fundamental to

prudence in the investment function,’ and should be applied ‘not only in making investments but

also in monitoring and reviewing investments.’” Tibble v. Edison Int’l, 843 F.3d 1187, 1197-98

(9th Cir. 2016) (en banc) (quoting Restatement (Third) of Trusts, § 90, cmt. b) (“Tibble II”).

       7.      Additional fees of only 0.18% or 0.4% can have a large effect on a participant’s

investment results over time because “[b]eneficiaries subject to higher fees … lose not only money

spent on higher fees, but also lost investment opportunity; that is, the money that the portion of

their investment spent on unnecessary fees would have earned over time.” Tibble II, 843 F.3d at

1198 (“It is beyond dispute that the higher the fees charged to a beneficiary, the more the

beneficiary’s investment shrinks.”).

       8.      The Supreme Court recently reiterated that interpreting “ERISA’s duty of prudence

in light of the common law of trusts” a fiduciary “has a continuing duty of some kind to monitor

investments and remove imprudent ones” and a plaintiff may allege that a fiduciary breached the

duty of prudence by failing to properly monitor investments and remove imprudent ones. Hughes

v. Northwestern Univ., 142 S. Ct. 737, 741 (2022).

       9.      Plaintiffs allege that during the putative Class Period, Defendants, as “fiduciaries”

of the Plans, as that term is defined under ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A), breached



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the duties owed to the Plans, to Plaintiffs, and to the other participants of the Plans by, inter alia,

failing to objectively and adequately review the Plans’ investment portfolio, initially and on an

ongoing basis, with due care to ensure that each investment option was prudent, in terms of

performance.

        10.    At all times during the Class Period, the Plans had combined, over one billion

dollars in assets under management. At the start of the Class Period in 2019, the 403(b) Plan had

$1,154,508,260 and the 401(a) Plan had $378,733,863 in assets under management. See 2019 Form

5500s for the 403(b) Plan and 401(a) Plan, Schedule H at 2.

        11.    By 2023, the 403(b) Plan had $1,723,877,574 and the 403(b) Plan had

$696,604,461 in assets under management. See 2023 Form 5500s for the 403(b) Plan and 401(a)

Plan, Schedule H at 2. Collectively, the Plans had over $2.4 billion in assets under management in

2023.

        12.    The Plans’ assets under management qualifies them collectively as a jumbo plan in

the defined contribution plan marketplace, and among the largest plans in the United States. In

2021, only 0.2 percent (1,011 of 641,747) of plans in the country had more than $1 billion in assets

under management.4 In addition, this was true at the start of the Class Period in 2019 where only

0.1 percent (776 of 603,217) of 401(k) plans in the country were as large as the Plans.5

        13.    The Plans are also large in terms of the number of its participants. At the beginning

of the Class Period, the 403(b) Plan had 16,194 participants and the 401(a) Plan had 12,474

participants. See 2019 Form 5500s for the 403(b) Plan and 401(a) Plan, at 2. By 2023, the 403(b)


4
  See The BrightScope/ICI Defined Contribution Plan Profile: A Close Look at Plans, 2021 at Ex.
1.2, p. 7., available at https://www.ici.org/system/files/2024-08/24-ppr-dcplan-profile-401k.pdf.
5
  See The BrightScope/ICI Defined Contribution Plan Profile: A Close Look at 401(k) Plans, 2019
at Ex. 1.2, p. 7, available at https://www.ici.org/system/files/2022-09/22-ppr-dcplan-profile-
401k.pdf.

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Plan had 19,176 participants and the 401(a) Plan had 14,034 participants. See 2023 Form 5500s

for the 403(b) Plan and 401(a) Plan, at 2. Collectively, the Plans had 33,210 participants in 2023.

For comparison, according to information derived from ERISApedia.com’s database, a service

that compiles all Form 5500s filed with the Dept. of Labor (“DOL”) by retirement plans, in 2020,

there were only 198 defined contribution plans (401k, 401a, and 403b) in the country with between

15,000 and 19,999 participants with account balances. Additionally, there were only 90 retirement

plans with between 30,000 and 39,999 participants.

       14.     With regard to the Plans’ investments, Defendants breached their fiduciary duty of

prudence by selecting and/or maintaining guaranteed investment contracts (“GIC”) in the Plans

with lower crediting rates compared to available similar or identical investments with higher

crediting rates, both within the 403(b) Plan and outside of the Plans. The crediting rate is the

guaranteed rate of return for the investment fund.

       15.     Among other imprudent investments, Defendants allowed substantial assets in the

Plans to be invested in a separate account GIC with Lincoln National Life Insurance Company (the

Lincoln Stable Value Separate Account GIC (the “LSA GIC”)), that provided significantly lower

rates of return than comparable stable value funds that Defendants could have made available to

Plan participants, including in a traditional annuity contract, the Lincoln Fixed Account GIC (the

“LFA GIC”), in the 403(b) Plan.

       16.     A prudent fiduciary would not have included this underperforming investment

option that also carried significantly more risk than other investment options that had similar goals,

i.e., preservation of investment assets.

       17.     Lincoln benefited significantly from participants in the Plans investing in the LSA

GIC. A prudent fiduciary who adequately monitored the Plans’ investments and placed the



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interests of participants in the Plans above all would have recognized that the LSA GIC was

benefitting Lincoln at the expense of the participants in the Plans. The investments in the LSA GIC

were held and invested by Lincoln, which kept the spread (the difference between the amount it

earned on the investment and the amount it paid to the Plans’ participants). The crediting rates that

Lincoln provided to the Plans were and are so low that Lincoln reaped a windfall on the spread.

          18.   Additionally, the Plans’ fiduciaries selected and failed to remove the

underperforming T.Rowe Price Growth Stock fund whose investment returns significantly

underperformed relevant benchmarks costing the Plans and participants millions of dollars in

losses.

          19.   Plaintiffs also allege that Defendants breached the duties they owed to the 401(a)

Plan, to Plaintiffs, and to the other participants of the 401(a) Plan by failing to defray[] reasonable

expenses of administering the [Plan]. 29 U.S.C. § 1104(a)(A)(ii). Their failure stems from the use

of Plan participant forfeited funds to reduce Company contributions to the 401(a) Plan instead of

using the funds to reduce or eliminate the amounts charged to Plan participants for 401(a) Plan

administrative costs. This action by the Company was a clear breach of the duties of prudence and

loyalty to Plan participants and cost Plan participants millions of dollars.

          20.   During the putative Class Period, Defendants, as “fiduciaries” of the Plans, as that

term is defined under ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A), breached the duties owed to

the Plans, to Plaintiffs, and to the other participants of the Plans by, inter alia: (1) failing to

objectively and adequately review the Plans’ investment portfolio with due care to ensure that each

investment option was prudent, in terms of cost and performance; and (2) failing to defray

reasonable expenses of administering the 401(a) Plan.




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       21.     Defendants’ mismanagement of the Plans, to the detriment of participants and

beneficiaries, constitutes a breach of the fiduciary duties of prudence, in violation of 29 U.S.C. §

1104. Their actions were contrary to actions of a reasonable fiduciary and cost the Plans and their

participants millions of dollars.

       22.     Based on this conduct, Plaintiffs assert claims against Defendants for breach of the

fiduciary duty of prudence (Count I), breach of the fiduciary duty of loyalty (Count II), breach of

ERISA’s Anti-Inurement Provision (Count III), and failure to monitor fiduciaries (Count IV).

II.    JURISDICTION AND VENUE

       23.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331 because it is a civil action arising under the laws of the United States, and pursuant to 29

U.S.C. § 1332(e)(1), which provides for federal jurisdiction of actions brought under Title I of

ERISA, 29 U.S.C. § 1001, et seq.

       24.     This Court has personal jurisdiction over Defendants because the Plans are

administered in this District meaning Legacy transacts business in this District, resides in this

District, and/or has significant contacts with this District, and because ERISA provides for

nationwide service of process.

       25.     Venue is proper in this District pursuant to ERISA § 502(e)(2), 29 U.S.C.

§ 1132(e)(2), because some or all of the violations of ERISA occurred in this District and

Defendants reside and may be found in this District. Venue is also proper in this District pursuant

to 28 U.S.C. § 1391 because Legacy does business in this District and a substantial part of the

events or omissions giving rise to the claims asserted herein occurred within this District.




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III.   PARTIES

       Plaintiffs

       26.     Plaintiff, Jeffrey Foley (“Foley”), resides in Portland, Oregon. During his

employment, Plaintiff Foley participated in the 403(b) Plan. Mr. Foley invested in the LSA GIC

in the 403(b) Plan and suffered injury to his 403(b) Plan account due to the significant

underperformance of the LSA GIC. Plaintiff Foley also participated in the 401(a) Plan. Mr. Foley

invested in the LSA GIC and T. Rowe Price Growth Stock fund in the 401(a) Plan and suffered

injury to his 401(a) Plan account due to the significant underperformance of the LSA GIC and T.

Rowe Price Growth Stock. Plaintiff Foley also suffered injury due to the fact that Defendants failed

to use forfeited Plan funds to pay 401(a) Plan administrative expenses which, if used to pay for

administrative expenses, would have reduced or eliminated the amounts charged to Plaintiff

Foley’s individual account.

       27.     Plaintiff, Julianne Griffin (“Griffin”), resides in West Linn, Oregon. During her

employment, Plaintiff Griffin participated in the 401(a) Plan. Plaintiff Griffin suffered injury due

to the fact that Defendants failed to use forfeited Plan funds to pay 401(a) Plan administrative

expenses which, if used to pay for administrative expenses, would have reduced or eliminated the

amounts charged to Plaintiff Griffin’s individual account.

       28.     Plaintiff, Randy Reyes (“Reyes”), resides in Portland, Oregon. During his

employment, Plaintiff Reyes participated in the 401(a) Plan. Plaintiff Reyes suffered injury due to

the fact that Defendants failed to use forfeited Plan funds to pay 401(a) Plan administrative

expenses which, if used to pay for administrative expenses, would have reduced or eliminated the

amounts charged to Plaintiff Reyes’s individual account.




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       29.     Plaintiff, Shlonda White (“White”), resides in Portland, Oregon. During her

employment, Plaintiff White participated in the 401(a) Plan. Plaintiff White suffered injury due to

the fact that Defendants failed to use forfeited Plan funds to pay 401(a) Plan administrative

expenses which, if used to pay for administrative expenses, would have reduced or eliminated the

amounts charged to Plaintiff White’s individual account.

       30.     Plaintiffs have standing to bring this action on behalf of the Plans because they

participated in the Plans and were injured by Defendants’ unlawful conduct. Plaintiffs are entitled

to receive benefits in the amount of the difference between the value of their accounts currently,

or as of the time their accounts were distributed, and what their accounts are or would have been

worth, but for Defendants’ breaches of fiduciary duties as described herein.

       31.     Further, each of the Plaintiffs have standing to bring this action on behalf of the

Plans even if they only participated in one of the Plans because “[a]n individual in one ERISA

benefit plan can represent a class of participants in numerous plans other than his own, if the

gravamen of the plaintiff's challenge is to the general practices which affect all of the plans.”

Fallick v. Nationwide Mutual Ins. Co., 162 F.3d 410, 422 (6th Cir. 1998); see also Dann v. Lincoln

Natl. Corp., et al., 708 F.Supp.2d 481, 487 (E.D. Pa. 2010); Mulder v. PCS Health Sys., Inc., 216

F.R.D. 307, 317 (D.N.J. 2003) (“Mulder has standing to pursue his claims on behalf of members

of other employee benefit plans included in the definition of the class.”).

       32.     Here, the Plans were sponsored by the Company and administered in the same

manner, including having the LSA GIC as an investment option.

       33.     Plaintiffs did not have knowledge of all material facts necessary to understand that

Defendants breached their fiduciary duties and engaged in other unlawful conduct in violation of

ERISA until shortly before this suit was filed.



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       Defendants

               Company Defendant

       34.     Legacy Health is the sponsor of the Plans and a named fiduciary of the Plans with

a principal place of business at 1919 NW Lovejoy Street, Portland, Oregon. See 2023 Form 5500s

for the 403(b) Plan and 401(a) Plan, at 1; see also Legacy Health Retirement Committee Charter

(“Committee Charter”), at 1 (“Under the terms of the Plans, the Company is the ‘Plan

Administrator’ of the Plans, as defined in Section 3 (16) of ERISA, and the ‘Named Fiduciary’

of the Plans, as defined in Section 402(a) of ERISA.”). Legacy “is a local, nonprofit, six-medical

center health system that also includes more than 80 primary care, specialty and urgent care clinics;

over 14,000 employees and more than 3,000 health care providers.”6

       35.     The Company is a fiduciary of the Plan, within the meaning of ERISA Section

3(21)(A), 29 U.S.C. § 1002(21)(A). Legacy, directly or by acting through its Board, appointed the

Committee.

       36.     Further, at all times, Legacy acted through its officers to perform Plan-related

fiduciary functions. These officers were acting in the course and scope of their employment.

       37.     Accordingly, during the putative Class Period, Legacy is/was a fiduciary of the

Plans, within the meaning of ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A) because it had a

duty to monitor the actions of the Committee.

               Board Defendants

       38.     “The Plans authorize the Board of Directors of the Company (the “Board”) to

delegate the Company’s responsibilities as Plan Administrator and Named Fiduciary to one or




6
 See https://www.legacyhealth.org/-/media/Files/PDF/Our-Legacy/AboutLegacy/Legacy-
Health-Profile.pdf, last accessed on April 10, 2025.
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more individuals or committees to provide for the proper and efficient administration of the Plans.”

Committee Charter, at 1.

       39.     Accordingly, each member of the Board during the putative Class Period (referred

to herein as John Does 1-10) is/was a fiduciary of the Plan, within the meaning of ERISA Section

3(21)(A), 29 U.S.C. § 1002(21)(A) because each had a duty to monitor the actions of the

Committee.

       40.     The Board and the unnamed members of the Board during the Class Period

(referred to herein as John Does 1-10), are collectively referred to herein as the “Board

Defendants.”

               Committee Defendants

       41.     The Committee administered the Plans and served as a Named Fiduciary of the

Plans within the meaning of Section 402(a)(2) of ERISA. See Committee Charter, at 1 (“[T]he

Board establishe[d] and appoint[ed] the Legacy Health Retirement Committee (“Retirement

Committee”) to provide for the proper operation, administration, and maintenance of the Plans.”).

       42.     “The Board has delegated to the Retirement Committee the full power, authority

and responsibilities of the Plan Administrator and the Named Fiduciary under ERISA with respect

to the day-to-day operation and administration of the Plans.” Id., at 2.

       43.     “The Board has delegated to the Retirement Committee the full power, authority

and responsibility of the Plan Administrator and Named Fiduciary under ERISA with respect to

the investment of assets under the Plans, including the selection and monitoring of the investment

options and fund managers of each Plan.” Id., at 3.

       44.     Each member of the Committee during the putative Class Period (referred to herein

as John Does 11-20) is/was a fiduciary of the Plans, within the meaning of ERISA Section



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3(21)(A), 29 U.S.C. § 1002(21)(A), during the Class Period, because each had control over plan

management and/or authority or control over management or disposition of plan assets.

       45.     Members of the Committee during the Class Period are collectively referred to

herein (referred to herein as John Does 11-20) as the “Committee Defendants.”

IV.    CLASS ACTION ALLEGATIONS7

       46.     Plaintiff brings this action as a class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure on behalf of himself and the following proposed class (“Class”):

               All persons, except Defendants and any fiduciary of the Plans and
               their immediate family members, who were participants in or
               beneficiaries of the Legacy Health 403(b) Plan and the Legacy
               Health Defined Contribution Retirement Plan at any time between
               June 17, 2025 to the date of judgment (the “Class Period”).8

       47.     The members of the Class are so numerous that joinder of all members is

impractical. The 2023 403(b) Form 5500 lists 19,176 “participants with account balances as of the

end of the plan year.” 2023 403(b) Form 5500, at 2. The 2023 401(a) Form 5500 lists 14,034

“participants with account balances as of the end of the plan year.” 2023 401(a) Form 5500, at 2.

       48.     Plaintiffs’ claims are typical of the claims of the members of the Class. Like other

Class members, Plaintiffs participated in the Plans and have suffered injuries as a result of

Defendants’ mismanagement of the Plans. Defendants treated Plaintiffs consistently with other

Class members, and managed the Plans as a single entity. Plaintiffs’ claims and the claims of all


7
  Although this is a proposed class action, the allegations in this complaint are alternatively pled
in derivative fashion on behalf of the Plans because class certification is not necessarily required
for Plaintiffs to prosecute claims on behalf of the Plans and all participants. See, e.g., In re:
Wilmington Trust Corp., 2013 WL 4757843, at *3 (D. Del. Sept. 4, 2013) (granting plaintiffs’
motion to proceed derivatively on behalf of all plan participants without class certification, because
of the nature of such claims). ERISA Section 502(a), 29 U.S.C. § 1132(a), authorizes pension plan
participants to bring suit on behalf of a plan to recover losses to a plan.
8
 Plaintiffs reserve their right to seek modification of the close of the Class Period in the event that
further investigation/discovery reveals a more appropriate end period.

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Class members arise out of the same conduct, policies, and practices of Defendants as alleged

herein, and all members of the Class have been similarly affected by Defendants’ wrongful

conduct.

        49.     There are questions of law and fact common to the Class, and these questions

predominate over questions affecting only individual Class members. Common legal and factual

questions include, but are not limited to:

                A.     Whether Defendants are fiduciaries of the Plans;

                B.     Whether Defendants breached their fiduciary duties of prudence and loyalty

                       by engaging in the conduct described herein;

                C.     The proper form of equitable and injunctive relief; and

                D.     The proper measure of monetary relief.

        50.     Plaintiffs will fairly and adequately represent the Class, and have retained counsel

experienced and competent in the prosecution of ERISA class action litigation. Plaintiffs have no

interests antagonistic to those of other members of the Class. Plaintiffs are committed to the

vigorous prosecution of this action, and anticipate no difficulty in the management of this litigation

as a class action.

        51.     This action may be properly certified under Rule 23(b)(1). Class action status in

this action is warranted under Rule 23(b)(1)(A) because prosecution of separate actions by the

members of the Class would create a risk of establishing incompatible standards of conduct for

Defendants. Class action status is also warranted under Rule 23(b)(1)(B) because prosecution of

separate actions by the members of the Class would create a risk of adjudications with respect to

individual members of the Class that, as a practical matter, would be dispositive of the interests of




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other members not parties to this action, or that would substantially impair or impede their ability

to protect their interests.

        52.     In the alternative, certification under Rule 23(b)(2) is warranted because the

Defendants have acted or refused to act on grounds generally applicable to the Class, thereby

making appropriate final injunctive, declaratory, or other appropriate equitable relief with respect

to the Class as a whole.

V.      THE PLANS

        A.      The 403(b) Plan

        53.     The 403(b) Plan is a “defined contribution profit sharing plan.” Legacy Health

403(b) Plan, Amended and Restated Effective January 1, 2016 (“403(b) Plan Doc.”), at 1.

        Eligibility

        54.     Employees of Legacy generally are eligible to participate in the 403(b) Plan and “to

make elective deferrals . . . beginning on the first regularly scheduled pay date after the employee

becomes an eligible employee.” Id., at 7.

        55.     The 403(b) Plan includes an automatic enrollment feature. “The automatic

enrollment date is the first pay date that is at least 90 days after the date the employee first has an

Hour of Service as an eligible employee.” Id., at 9.

        Contributions

        56.     “Each eligible employee who is a Participant may elect to defer a percentage of

Compensation.” Id., at 7.

        57.     The 403(b) Plan includes an automatic deferral feature. “If an eligible employee

does not make an affirmative election . . . before the automatic enrollment date, the employee’s

Compensation shall be automatically reduced by . . . 4 percent of Compensation.” Id., at 8-9.



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       Vesting

       58.      Participants are fully vested in their contributions to the 403(b) Plan. See SPD, at 4

(“You are always 100% vested.”).

       GICs in the 403(b) Plan

       59.      Included in the 403(b) Plan’s available funds were guaranteed investment contracts

that consist of the Lincoln Stable Value Separate Account (previously defined as the “LSA GIC”)

and the Lincoln Financial Fixed Account (previously defined as the “LFA GIC”).

       60.      At the end of 2019, $76,740,029 in 403(b) Plan assets were invested in the LSA

GIC, and $1,845,750 in 403(b) Plan assets were invested in the LFA GIC. See Schedule of Assets

(Held at the end of Year) as of December 31, 2019, attached to 2019 403(b) Form 5500, at 13.

       61.      By the end of 2023, over $92 million in 403(b) Plan assets were invested in the

LSA GIC, and $1,563,194 were invested the LFA GIC. See Schedule of Assets (Held at the end

of Year) as of December 31, 2023, attached to 2023 403(b) Form 5500, at 16.

       62.      The chart below demonstrates the amount of 403(b) Plan assets invested in the GICs

during the Class Period.

 Plan        403(b) Plan Assets in LSA GIC        403(b) Plan Assets in LFA GIC
 Year
  2019                 $76,740,029                           $1,845,750
  2020                 $90,685,549                           $1,793,296
  2021                 $88,743,323                           $1,644,964
  2022                $101,148,315                           $1,654,484
  2023                 $92,669,656                           $1,563,184

       B.       The 401(a) Plan

       63.      The 401(a) Plan “is a noncontributory defined contribution plan.” Report of

Independent Auditors attached to 401(a) 2023 Form 5500, at 8.




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        GICs in the 403(b) Plan

        64.      Included in the 401(a) Plan’s available funds was the LSA GIC.

        65.      At the end of 2019, $18,628,281 in 401(a) Plan assets were invested in the LSA

GIC. See Schedule of Assets (Held at the end of Year) as of December 31, 2019, attached to 2019

401(a) Form 5500, at 12.

        66.      By the end of 2023, over $28 million in 401(a) Plan assets were invested in the LSA

GIC. See Schedule of Assets (Held at the end of Year) as of December 31, 2023, attached to 2023

401(a) Form 5500, at 16.

        67.      The chart below demonstrates the amount of 401(a) Plan assets invested in the GICs

during the Class Period.

    Plan      401(a) Plan Assets in LSA GIC
    Year
     2019               $18,628,281
     2020               $23,318,256
     2021               $23,217,037
     2022               $27,134,351
     2023               $28,113,273

        Eligibility

        68.      Employees are generally eligible to receive employer matching contributions9 in

the 401(a) Plan “on the first day of the month on or after the date the employee is at least age 21

and has completed one Year of Service.” Legacy Health Defined Contribution Retirement Plan

2021 Restatement, Effective January 1, 2021 (“401(a) Plan Doc.”), at 3.




9
  Employees are generally eligible to receive employer nonelective contributions “on the first
day of the month on or after the date the employee becomes a Qualified Employee and has
reached age 21.” 401(a) Plan Doc., at 4.
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        Contributions

        69.    “Employer shall make a matching contribution for [employees]:

               (a)      Matchable 403(b) contributions above five percent (5%) of an employee’s
                        compensation for a year shall be disregarded for purposes of matching for
                        the year.

               (b)      For employees with fewer than ten (10) Years of Service, the matching
                        contribution rate shall be fifty percent (50%) of the employee’s Matchable
                        403(b) contributions for the year.

               (c)      For employees with between 10 and fifteen (15) Years of Service, the
                        matching contribution rate shall be sixty percent (60%) of the employee’s
                        Matchable 403(b) contributions for the year.
               (d)      For employees with at least 16 Years of Service, the matching contribution
                        rate shall be seventy percent (70 %) of the employee’s Matchable 403(b)
                        contributions for the year.”

401(a) Plan Doc., at 12-13.

        70.    Legacy “shall make a nonelective contribution for its [employees].” Id. at 16.

        71.    “The amount of an eligible participant’s nonelective contribution for each plan year

shall be a percentage of the participant’s compensation for the plan year, . . . . The percentage

used to calculate a participant’s nonelective contribution for a plan year shall be based on the

number of the participant’s Years of Service . . . as shown on the following table:

                     Nonelective                      Contribution Percentage
                     Years of Service
                              Fewer than 6                     2.5%

                     At least 6 but fewer than 11               4%

                     At least 11 but fewer than 16              5%

                     At least 16 but fewer than 21              6%

                              21 or more                        7%

Id., at 17.


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         Vesting

         72.       “Amounts attributable to Employer matching contributions . . . shall be vested as

follows, . . . :

                                  Years of Service         Percent Vested
                                    Less than 1                  0%
                                         1                      20%
                                         2                      40%
                                         3                      60%
                                         4                      80%
                                     5 or more                 100%

Id., at 23

         73.       Amounts attributable to Employer nonelective contributions . . . shall be vested as

follows, . . .:

                                  Years of Service          Percent Vested
                                    Less than 3                  0%
                                     3 or more                  100%

Id., at 24.

         Forfeitures

         74.       “The unvested portion of a participant’s account(s) shall be forfeited at the earlier

of … : (a) The date on which the participant’s vested interest in his or her accounts has been fully

distributed. For this purpose, a participant who has no vested interest under the plan will be deemed

to have received a complete distribution of his or her accounts under the plan on severance from

employment[; or] (b) The date on which the participant has had five consecutive One- Year Breaks

in Service.” Id., at 24.

         75.       “Forfeitures shall first be applied to restore prior forfeitures.” Id.

         76.       “Any forfeitures remaining . . . shall be applied to reduce future Employer

contributions or to pay plan expenses.” Id.



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         77.   “With respect to all of each Plan that is subject to Title I of ERISA, the Committee

shall administer each such Plan: a. solely in the interest of the Plan participant and beneficiaries;

[and] b. for the exclusive purpose of providing benefits to participants and their beneficiaries and

defraying the reasonable expenses of administering the plans; ...” Committee Charter, at 3.

VI.      THE TOTALITY OF THE CIRCUMSTANCES DEMONSTRATES THAT
         DEFENDANTS FAILED TO ADMINISTER THE PLAN IN A PRUDENT
         MANNER

         A.    ERISA Fiduciaries Are Held to the Highest Standards Regarding Process and
               Methodology of Evaluating Investments

         78.   As described in the “Parties” section above, Defendants were fiduciaries of the

Plans.

         79.   ERISA “imposes a ‘prudent person’ standard by which to measure fiduciaries’

investment decisions and disposition of assets.” Fifth Third Bancorp v. Dudenhoeffer, 134 S. Ct.

2459, 2467 (2014) (quotation omitted). In addition to a duty to select prudent investments, under

ERISA, a fiduciary “has a continuing duty to monitor [plan] investments and remove imprudent

ones” that exist “separate and apart from the [fiduciary’s] duty to exercise prudence in selecting

investments.” Tibble I, 135 S. Ct. at 1828; see also Hughes, 142 S. Ct. at 741.

         80.   As stated by the DOL: ERISA “requires plan fiduciaries, when selecting and

monitoring service providers and plan investments, to act prudently and solely in the interest of

the plan’s participants and beneficiaries. Responsible plan fiduciaries also must ensure that

arrangements with their service providers are ‘reasonable’ and that only ‘reasonable’

compensation is paid for services. …” DOL 408(b)(2) Regulation Fact Sheet.




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          81.        The duty “…to act solely in the best interest of participants has been a key tenet of

ERISA since its passage.” “Best Practices for Plan Fiduciaries,” at 36, published by Vanguard,

2019.10

          82.        Acting in the sole interest of plan participants is all encompassing. A fiduciary must

monitor all investment options in a 401(k) plan as a prudent investment professional. See the U.S.

Department of Labor, Employee Benefits Security Administration (EBSA)’s “Meeting Your

Fiduciary Responsibilities,” at 2 (“The duty to act prudently is one of a fiduciary’s central

responsibilities under ERISA. It requires expertise in a variety of areas, such as investments.”),

available       at    https://www.dol.gov/sites/dolgov/files/EBSA/about-ebsa/our-activities/resource-

center/publications/meeting-your-fiduciary-responsibilities.pdf.

          83.        A prudent investment professional, and hence a fiduciary, must regularly evaluate

a fund’s performance history, the portfolio manager’s experience and tenure, changes to the fund’s

investment strategy, changes to the underlying assets in the investment, total assets under

management within the fund, fees, and other relevant factors.

          84.        With respect to investment returns, diligent investment professionals monitor the

performance of their selected investments using appropriate industry-recognized “benchmarks”

and prudently managed equivalents.

          85.        The measurement of investments against prudently managed alternatives is critical

given that these alternatives represent other investments available to a plan, which may increase

the likelihood that participants reach/live their preferred lifestyle in retirement.




10
     Available at https://institutional.vanguard.com/iam/pdf/FBPBK.pdf?cbdForceDomain.

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       86.     Whether a plan fiduciary enlists the assistance of an investment manager,

consultant, or advisor, the plan’s fiduciaries are not relieved of fiduciary liability for selecting and

monitoring the plan’s investment options.

       87.     It is black letter law that a fiduciary’s duty to conduct an “independent investigation

into the merits of a particular investment,” is the “most basic of ERISA’s investment fiduciary

duties.” In re Unisys Savings Plan Litigation, 74 F.3d 420, 435 (3d Circ. 1996). Hughes, 142 S.

Ct. at 738 (noting ERISA fiduciaries are required to “conduct their own independent evaluation to

determine which investments may by prudently included in the plan’s menu of options.”).

       88.     To the extent plan fiduciaries have adopted an investment policy statement, those

fiduciaries “must comply with the plan’s written statements of investment policy, insofar as those

written statements are consistent with the provisions of ERISA.” Lauderdale v. NFP Retirement,

Inc., 2022 WL 17260510, at * 10 (S.D. Cal. Nov. 17, 2022). That is, the investment policy

statement must be written with the sole interest of the plan participant in mind.

       89.     Plaintiff did not have and does not have actual knowledge of the specifics of

Defendants’ decision-making process with respect to the Plan, including Defendants’ processes

(and execution of such) for selecting, monitoring, and removing the Plan’s investments because

this information is solely within the possession of Defendants prior to discovery. See Braden v.

Wal-Mart Stores, Inc., 588 F.3d 585, 598 (8th Cir. 2009) (“If Plaintiffs cannot state a claim without

pleading facts which tend systematically to be in the sole possession of defendants, the remedial

scheme of [ERISA] will fail, and the crucial rights secured by ERISA will suffer.”).

       90.     Reviewing meeting minutes, when they exist, is the bare minimum needed to peek

into a fiduciary’s monitoring process. But in most cases, even that is not sufficient. For, “[w]hile

the absence of a deliberative process may be enough to demonstrate imprudence, the presence of



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a deliberative process does not … suffice in every case to demonstrate prudence. Deliberative

processes can vary in quality or can be followed in bad faith. In assessing whether a fiduciary

fulfilled her duty of prudence, we ask ‘whether a fiduciary employed the appropriate methods to

investigate and determine the merits of a particular investment,’ not merely whether there were

any methods whatsoever.” Sacerdote v. New York Univ., 9 F.4th 95, 111 (2d Cir. 2021) (emphasis

in original).

        91.     For purposes of this Complaint, Plaintiffs have drawn reasonable inferences

regarding these processes and methods based upon several factors as described below.

        92.     Defendants’ breaches of their fiduciary duties, relating to their overall decision-

making, resulted in, inter alia, the selection (and maintenance) of the LSA GIC in the Plans

throughout the Class Period that wasted the assets of the Plans and the assets of participants

because of unnecessary costs and underperformance.

        B.      Defendants Breached Their Fiduciary Duties by Causing the Plans to Offer
                the LSA GIC

                1.     Overview of GICs

        93.     For defined-contribution retirement plans, stable value investments are intended to

provide participants with an option that protects their assets and is shielded from risks of loss,

hence why they are called Guaranteed Investment Contracts or GICs.

        94.     GICs are issued by insurance companies in the form of a fixed annuity contract.

Pursuant to the terms of those contracts, the GICs provide for a guaranteed rate of return or

“crediting rate” during a specified period.

        95.     There are several different types of stable value investments in the retirement plan

marketplace. Large plans often offer “synthetic” stable value funds, which are the least risky,




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because principal is guaranteed by multiple “wrap providers” and the fund owns the assets of the

underlying funds.

        96.     Separate account products, where the assets of the underlying funds are held in the

separate account of an insurance carrier are riskier, because there is only one “wrap” provider. For

separate account GICs, the insurer’s payment obligations are putatively backed by a separate

account, which is less susceptible to claims and liabilities against the insurer. As a result, separate

account GICs offer higher crediting rates.

        97.     And General account products, such as the LSA GIC, where the funds are held

unrestricted in the general account of the insurance carrier, are the riskiest type of stable value

funds, because they are more vulnerable to single entity credit risk and are riskier than separate

account GICs. Consequently, general account GICs offer the highest rates.

        98.     Because the funds are kept in unrestricted accounts, they are generally subject to

claims and liabilities asserted against the insurer. Such funds are subject to single entity credit risk,

meaning the insurer is the sole entity responsible for paying such funds. If the insurer fails to pay

funds, no other entity will satisfy the loan.

                2.      The Plans Inclusion of the LSA GIC

        99.     At all relevant times, Defendants maintained the authority to exercise control over

the Plans’ investments, including the Plans’ LSA GIC.

        100.    Lincoln establishes the crediting rates for its GIC with the Plans. Lincoln “is

contractually obligated to repay the principal and a specified interest rate that is guaranteed to the

Plan. The crediting rate is based on a formula established by the contract issuer but may not be

less than 1%. The crediting rate is reviewed on a semi-annual basis for resetting.” 403(b) Auditor’s

Report, at 12; 401(a) Auditor’s Report, at 12.



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         101.   Lincoln earns a “spread” equal to the difference between the crediting rate and the

returns Lincoln earns on the funds in its general accounts.

                3.        There are Many GICs in the Marketplace with Competitive Crediting
                          Rates

         102.   The marketplace for GICs is robust with many insurance companies offering GICs

with competitive rates.

         103.   Throughout the Class Period, identical or substantially identical stable value funds

with higher crediting rates, and hence lower spreads, were available to the Plans, but were not

selected by Defendants.

         104.   The LSA GIC in the Plans is a general account product that should have had a high

crediting rate given its riskiness, yet it had underwhelming crediting rates when compared against

GICs with similar or lower riskiness provided by other comparable carriers for other retirement

plans:

                              No. of                                                        Crediting
 Year       Plan Name                       Plan Assets           Insurance Carrier
                            Participants                                                     Rate11
          Baylor
          College of
     2019 Medicine            12,587       $1,278,730,175 Lincoln Financial Group                 4.29%
          Retirement
          Plan
          Jackson
          National Life
          Insurance
                                                              Jackson National Life
          Company              5,002       $1,090,110,381                                         4.28%
                                                              Insurance
          Defined
          Contribution
          Plan
           Holzer
                                                              American United Life
           Health              1,896       $179,609,420                                           3.98%
                                                              Insurance Company
           System


11
  For crediting rates not identified in the plans’ Form 5500s, the calculated yield is interest
credited divided by the end of year balance.
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     401(a) Profit
     Sharing Plan

     Transamerica
     401(k)                                      Transamerica Financial
                     15,140    $2,020,965,905                                    3.85%
     Retirement                                  Life Insurance Company
     Savings Plan
     American
     United Life
                                                 American United Life
     Progress        3,051      $377,919,056                                     3.70%
                                                 Insurance Company
     Sharing Plan
     and Trust
     HCC
     Insurance
                                                 Massachusetts Mutual Life
     Holdings        2,515      $355,957,124                                     3.56%
                                                 Insurance Company
     Inc. 401(k)
     Plan
     Legacy
                     16,194    $1,154,508,260 LSA GIC                            2.41%
     403(b) Plan
     Legacy
                     12,474     $378,733,863     LSA GIC                         2.36%
     401(a) Plan

     Baylor
     College of
2020 Medicine        12,905    $1,493,377,139 Lincoln Financial Group            4.16%
     Retirement
     Plan
     Alina 401(k)
                                                 Brighthouse Life Insurance
     Retirement      32,203    $2,690,046,457                                    3.72%
                                                 Company
     Savings Plan
     HCC
     Insurance
                                                 Massachusetts Mutual Life
     Holdings        2,711      $428,308,461                                     3.56%
                                                 Insurance Company
     Inc. 401(k)
     Plan
     American
     United Life
                                                 American United Life
     Progress        2,699      $435,970,029                                     3.54%
                                                 Insurance Company
     Sharing Plan
     and Trust
     Legacy
                     16,611    $1,392,079,537 LSA GIC                            2.06%
     403(b) Plan



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      Legacy
                     12,817     $501,061,430     LSA GIC                          2.06%
      401(a) Plan

     Gemba
                                                 National Ohio Financial
2021 Group            969       $118,565,852                                      4.97%
                                                 Services
     Annuity Plan
     Baylor
     College of
     Medicine        13,391    $1,692,013,731 Lincoln Financial Group             4.23%
     Retirement
     Plan
     Holzer
     Health
                                                 American United Life
     System          2,017      $203,815,263                                      4.02%
                                                 Insurance Company
     401(a) Profit
     Sharing Plan
     American
     United Life
                                                 American United Life
     Progress        3,183      $493,267,284                                      3.87%
                                                 Insurance Company
     Sharing Plan
     and Trust
     Gemba
                                                 Principal Life Insurance
     Group            969       $118,565,852                                      3.84%
                                                 Company
     Annuity Plan
     Legacy                                                                       2.22%
                     17,185    $1,634,638,164 LSA GIC
     403(b) Plan
     Legacy
                     13,039     $606,253,131     LSA GIC                          2.24%
     401(a) Plan

     International
     Imaging
     Materials
     Inc.                                        Lincoln National Life
2022                  445        $59,443,888                                      4.89%
     Retirement                                  Insurance Co.
     and
     Investment
     Plan
     Baylor
     College of
     Medicine        14,036    $1,434,738,254 Lincoln Financial Group             4.37%
     Retirement
     Plan




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      American
      United Life
                                                  American United Life
      Progress        3,235      $439,262,320                                     3.90%
                                                  Insurance Company
      Sharing Plan
      and Trust
      Jackson
      National Life
      Insurance
                                                  Jackson National Life
      Company         4,650     $1,149,061,601                                    3.83%
                                                  Insurance
      Defined
      Contribution
      Plan
      Alina 401(k)
                                                  Brighthouse Life Insurance
      Retirement      34,554    $2,678,277,538                                    3.69%
                                                  Company
      Savings Plan
      Trugreen
      Profit
                                                  Massachusetts Mutual Life
      Sharing and     11,408     $371,495,784                                     3.67%
                                                  Insurance Company
      Retirement
      Plan
      Legacy
      403(b) Plan     18,346    $1,423,656,998 LSA GIC                            1.76%

      Legacy
      401(a) Plan     13,167     $556,921,709     LSA GIC                         1.72%


     Valley
     Hospital
     Retirement                                   Lincoln National Life
2023                  4,282      $550,230,744                                     4.57%
     Defined                                      Insurance Co.
     Contribution
     Plan
      Mattel, Inc.
      Personal                                    Metropolitan Tower Life
                      7,427     $1,167,576,000                                    3.71%
      Investment                                  Insurance Co.
      Plan
      Pomona
      Valley
      Hospital
                                                  Lincoln National Life
      Medical         4,219      $525,201,271                                     3.64%
                                                  Insurance Co.
      Center
      Retirement
      Savings Plan



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         Auto-
         Owners
         Insurance                                           Auto-Owners Life
                               8,582        $772,874,102                                       3.48%
         Company                                             Insurance Company
         Retirement
         Savings Plan
         Legacy                19,176       $1,723,877,574 LSA GIC                            2.12%
         403(b) Plan
         Legacy                14,034       $696,604,461     LSA GIC                          1.99%
         401(a) Plan

       105.    Throughout the Class Period, the LSA GIC in the 403(b) Plan underperformed the

comparator funds by an average of over 46%, and the LSA GIC in the 401(a) Plan underperformed

the comparator funds by an average of over 47%, as demonstrated in the table below.

                                                                    LSA GIC           LSA GIC
             LSA GIC           LSA GIC
                                              Comparator          Percentage of     Percentage of
              Rate of           Rate of
  Year                                       Average Rate of     Underperforma      Underperform
             Return in         Return in
                                                 Return           nce in 403(b)     ance in 401(a)
            403(b) Plan       401(a) Plan
                                                                      Plan              Plan
  2019     2.41%        2.36%           3.94%                        38.83%            40.10%
  2020     2.06%        2.06%           3.75%                        45.07%            45.07%
  2021     2.22%        2.24%           4.19%                        47.02%            46.54%
  2022     1.76%        1.72%           4.06%                        56.65%            57.64%
  2023     2.12%        1.99%           3.85%                        44.94%            48.31%
 Average Underperformance during Class Period                        46.50%            47.53%

       106.    In short, because the Plans held between $1.5 billion and $2.4 billion combined in

assets under management throughout the Class Period, they had considerable leverage to bargain

for higher crediting rates.

               4.       The Alternate GIC (the LFA GIC) in the 403(b) Plan Outperformed
                        the LSA GIC

       107.    Even more compelling evidence that the LSA GIC was an imprudent investment

option in the Plans is the fact that the alternative GIC in the 403(b) Plan had substantially higher

crediting rates than the LSA GIC, as demonstrated in the chart below.


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           LSA GIC Rate       LSA GIC Rate      LFA GIC Rate
  Year      of Return in       of Return in      of Return in
            403(b) Plan        401(a) Plan       403(b) Plan

  2019          2.41%              2.36%             3.54%
  2020          2.06%              2.06%             3.56%
  2021          2.22%              2.24%             3.36%
  2022          1.76%              1.72%             3.55%
  2023          2.12%              1.99%             3.67%

       108.    However, and despite the disparity in crediting rates, assets of the 403(b) Plan

invested in the LSA GIC were substantially higher than assets in the LFA GIC.

 Plan      403(b) Plan Assets in 403(b) Plan Assets in
 Year      LSA GIC               LFA GIC
  2019          $76,740,029             $1,845,750
  2020          $90,685,549             $1,793,296
  2021          $88,743,323             $1,644,964
  2022         $101,148,315             $1,654,484
  2023          $92,669,656             $1,563,184

       109.    A prudent fiduciary would have known that other providers of fixed annuities offer

substantially identical, better-performing stable value investments. A prudent fiduciary would

have accomplished this goal by demanding higher crediting rates from Lincoln and/or by

submitting requests for proposals to Lincoln and other providers of stable value investments.

       110.    By selecting the LSA GIC with underperforming crediting rates, Defendants

provided participants with investment options that failed to maximize the value of their

investments.

       111.    With the massive amount of assets under management in the LSA GIC, the losses

suffered by Plan participants were devastating. Every additional expense imposed upon the

participants compounds and reduces the value of their retirement savings over time. Tibble v.



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Edison Int’l, 575 U.S. 523, 525 (2015). For example, a 1% higher fee over 35 years makes a 28%

difference in retirement assets at the end of a participant’s career.12

        C.       The T. Rowe Price Growth Stock Fund in the Plans

        112.     At all relevant times, Defendants maintained the authority to exercise control over

the Plans’ investments, including the Plans’ T. Rowe Price Growth Stock.

        113.     At the start of the Class Period the Plans combined held more than $50 million in

the T. Rowe Price Growth Fund. By 2021, the amount invested had reached $78 million. The table

below demonstrates the amount of Plan assets in the T. Rowe Price Growth Stock fund.

     Plan       Assets in T. Rowe       Assets in T. Rowe
     Year      Price Growth Stock      Price Growth Stock
                  in 403(b) Plan          in 401(a) Plan
     2019         $41,433,733                $8,887,636
     2020         $52,703,351               $12,859,535
     2021         $63,078,216               $15,731,738
     2022         $37,917,492                $9,923,441
     2023             N/A                       N/A

        114.     With such a large amount invested in the T. Rowe Price Growth Stock, the Plans

would have been able to choose virtually any available Large Growth fund for the Plans by the

start of the Class Period.

        115.     Defendants, in particular, the Committee, were obligated under ERISA to carefully

evaluate the T. Rowe Price Growth Stock before selecting it for inclusion in the Plans. The

Committee was also under a continuing obligation under ERISA to carefully monitor and

scrutinize the performance of the T. Rowe Price Growth Stock on an ongoing basis thereafter.




12
   Look at 401(k) Plan Fees, UNITED STATES DEPT. OF LABOR at 2 (Sept. 2019),
https://www.dol.gov/sites/dolgov/files/ebsa/about-ebsa/our-activities/resource
center/publications/401k-plan-fees.pdf (accessed Feb. 14, 2025).
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               1.     The Plans’ Fidcuiaries Failed to Adequately Monitor and Timely
                      Remove the T. Rowe Price Growth Stock Fund

                      a.      The T. Rowe Price Growth Stock Fund Significantly
                              Underperformed Its Peers and Benchmarks

       116.    Prior to the start of the Class Period, the T. Rowe Price Growth Stock

underperformed its peers and its Russell 1000 Growth Index benchmark.13 Since at least 2015 the

T. Rowe Price Growth Stock consistently underperformed on a 3- and 5- year average basis.

       117.    The T. Rowe Price Growth Stock consistently materially underperformed its

benchmark. Based on the data, there’s no justifiable reason why this fund would have been selected

for the Plan or would have been permitted to continue to languish in the Plan, unheeded, during

the Class Period.

       118.    As seen in the chart below, the T. Rowe Price Growth Stock underperformed

compared to its Russell 1000 Growth Index on a 3- and 5-year average basis before the start of the

Class Period and continued to underperform throughout the Class Period.

       119.    Given the long history of underperformance, it’s inexplicable why the T. Rowe

Price Growth Stock would have been included as a Plan investment option by the start of the Class

Period and kept in place.

       120.    In the chart below, the T. Rowe Price Growth Stock Fund (highlighted in yellow),

consistently underperformed compared to its comparator funds (in red text) and its Russell 1000

Growth Index benchmark (in bold) on a 3-year average basis at the start of the Class Period and



13
   The Legacy Health Defined Contribution Retirement Plan Investment Policy states that the
Committee shall review the performance of investment funds’ performances against the
benchmark index assigned to the fund. The T. Rowe Price Growth Stock Fund’s strategy
benchmark is the Russell 1000 Growth Index. See T. Rowe Price March 1, 2025 Prospectus for
the Growth Stock Fund, at 6 (“Strategy Benchmark(s) Russell 1000 Growth Index.”), attached as
Exhibit A.


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continued to underperform throughout the Class Period. In fact, the chart below demonstrates that,

in 2019 and continuing through 2024, the T. Rowe Price Growth Stock Fund underperformed

against the comparator funds 30 out of 30 instances (100%).

                                                 Three-Year Return (Annualized)
     Investment and        1/1/2017 -     1/1/2018 -   1/1/2019 -   1/1/2020 -    1/1/2021 -    1/1/2022 -
       Benchmark           12/31/2019     12/31/2020   12/31/2021   12/31/2022    12/31/2023    12/31/2024


 T. Rowe Price Growth
                                 20.05         21.03        29.07        -0.54           1.44         4.06
 Stock Fund



 Fidelity Blue Chip
                                 22.55         29.94        38.62          7.1           5.62        10.28
 Growth K
 Fidelity Growth Company
                                 21.81         30.33        41.69        10.81           6.15        10.18
 Fund
 Alger Focus Equity Y            22.38         25.89        33.05         4.08           3.74         12.3
 JPMorgan Large Cap
                                 24.71         29.91        37.33        11.59           6.23        10.63
 Growth R6
 Marsico Focus
                                 21.21         25.88        33.57         6.44           5.38         11.2
 Institutional


 Benchmark: Russell
                                 20.49         22.99        34.08         7.79           8.86        10.47
 1000 Growth Index

        121.   Further, the chart above demonstrates that the T. Rowe Price Growth Stock Fund

underperformed its Russell 1000 Growth Index benchmark on a 3-year average basis since before

the start of the Class Period and continued to underperform throughout the Class Period. More

specifically, T. Rowe Price Growth Stock Fund underperformed against the Russell 1000 Growth

Index benchmark on a 3-year average basis in every instance in 2019, 2020, 2021, 2022, 2023 and

2024.

        122.   In the chart below, the T. Rowe Price Growth Stock Fund (highlighted in yellow),

consistently underperformed compared to its comparator funds (in red text) and its Russell 1000

Growth Index benchmark (in bold) on a 5-year average basis at the start of the Class Period and

continued to underperform throughout the Class Period. In fact, the chart below demonstrates that,

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in 2019 and continuing through 2024, the T. Rowe Price Growth Stock Fund underperformed

against the comparator funds 29 out of 30 instances (96.67%).

                                                   Five-Year Return (Annualized)
     Investment and        1/1/2015 -     1/1/2016 -   1/1/2017 -   1/1/2018 -     1/1/2019 -   1/1/2020 -
       Benchmark           12/31/2019     12/31/2020   12/31/2021   12/31/2022     12/31/2023   12/31/2024


 T. Rowe Price Growth
                                 14.23         19.16        23.25          4.96         13.33        13.12
 Stock Fund



 Fidelity Blue Chip
                                 14.77          24.9         29.7         10.66         20.64        21.75
 Growth K
 Fidelity Growth Company
                                 15.62         26.27        30.01         15.45         22.63        22.41
 Fund
 Alger Focus Equity Y            14.68         22.04        26.31          9.01         16.98        19.96
 JPMorgan Large Cap
                                 15.52         24.42        29.23         14.27         21.19        20.27
 Growth R6
 Marsico Focus
                                 10.97         20.01        26.26          9.89         18.36         19.9
 Institutional


 Benchmark: Russell
                                 14.63         21.00        25.32         10.96         19.50        18.96
 1000 Growth Index

       123.    Once again, the chart above demonstrates that the T. Rowe Price Growth Stock

Fund underperformed its Russell 1000 Growth Index benchmark on a 5-year average basis since

before the start of the Class Period and continued to underperform throughout the Class Period.

More specifically, T. Rowe Price Growth Stock Fund underperformed against the Russell 1000

Growth Index benchmark on a 5-year average basis in every instance in 2019, 2020, 2021, 2022,

2023 and 2024.

       124.    Altogether, the charts above span from the first day of 2015 until the last day of

2024, demonstrating that the T. Rowe Price Growth Stock Fund underperformed in both good

markets and bad markets.

       125.    Looking at this data together, the T. Rowe Price Growth Stock Fund

underperformed across several metrics for years before the Class Period, and for years into the

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Class Period. This consistent underperformance data was publicly available to the Committee at

the time of their decision-making, whether they reviewed the funds annually or quarterly (if at all).

Prudent fiduciaries would have acknowledged that this pattern of underperformance did not bode

well for the T. Rowe Price Growth Stock Fund’s future performance and would have made a timely

switch to any of the numerous safer, better managed, and ultimately more optimistic investment

options.

       126.     Given the long history of underperformance, it’s inexplicable why the T. Rowe

Price Growth Stock Fund would have been included as Plan investment options by the start of the

Class Period and kept in place.

       D.       The Company Improperly Reduced its 401(a) Plan Contributions Through
                Forfeiture Accounts

       127.     During the Class Period, Defendants breached their ERISA fiduciary duties by

misusing the 401(a) Plan’s assets for Defendants’ own benefit and to the detriment of Plan

participants.

       128.     As alleged above, Defendants had a choice on how to utilize forfeited amounts. At

the discretion of Defendants in their fiduciary capacity, forfeitures may be used to either pay the

401(a) Plan’s expenses or reduce the Company’s contributions to the 401(a) Plan.

       129.     Using the forfeitures to reduce Company contributions is always in the best interest

of Legacy because that option would decrease its own contribution costs.

       130.     Absent any risk that Legacy would be unable to satisfy its contribution obligations,

using forfeitures to pay 401(a) Plan expenses would be in the participants’ best interest because

that option would reduce or eliminate amounts otherwise charged to their accounts to cover such

expenses.




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       131.    In deciding between using forfeitures to benefit the Company or using forfeitures

to benefit the participants, Defendants are presented with a conflict of interest in administering the

401(a) Plan and managing and disposing of the 401(a) Plan assets.

       132.    Despite the conflict of interest presented by this decision, Defendants failed to

undertake any investigation into which option was in the best interest of the 401(a) Plan’s

participants and beneficiaries.

       133.    Defendants did not, for example, investigate whether there was a risk that Legacy

would be unable to satisfy its contribution obligations if forfeitures were used to pay 401(a) Plan

expenses, or evaluate whether there were sufficient forfeitures to eliminate the 401(a) Plan’s

expenses charged to participants and still offset a portion of Legacy’s own contribution

obligations, as a prudent person would have done.

       134.    Defendants also failed to consult with an independent, non-conflicted

decisionmaker to advise them in deciding upon the best course of action for allocating the

forfeitures in the 401(a) Plan, as a prudent person would have done.

       135.    Although ERISA, and the Legacy Health Retirement Committee Charter, requires

fiduciaries to manage the 401(a) Plan’s assets solely in the interest of participants and although

the 401(a) Plan grants Defendants discretion to use forfeitures to pay 401(a) Plan expenses, thereby

reducing or eliminating the amounts charged to participant accounts to cover such expenses,

Defendants have consistently declined to use the 401(a) Plan’s assets for such purpose during the

putative class period.

       136.    Since at least the beginning of the Class Period, Defendants have improperly used

forfeited non-vested Plan assets for the Company’s own benefit to reduce future Company

contributions instead of using the funds to benefit 401(a) Plan participants.



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       137.     According to information from the Plan’s Form 5500, the following represents the

balance in the 401(a) Plan’s forfeiture accounts during the Class Period, the amount of the

forfeiture improperly used to offset the Company’s contributions to the 401(a) Plan, and the

amounts used to pay for Plan administration costs:

   Plan         Forfeiture       Offset Company          Offset 401(a)
   Year          Amount           Contributions         Plan Expenses
   2019             $917,626              $759,516                    $0
   2020             $908,257              $828,507                    $0
   2021           $1,111,170            $1,041,026                    $0
   2022           $1,139,228            $1,111,170                    $0
   2023           $1,404,091            $1,139,228                    $0
 TOTAL            $5,480,372            $4,879,447                    $0

       138.     Based on the above table, from the beginning of the Class Period through 2023,

almost $5 million was improperly steered from paying 401(a) Plan administrative expenses and

instead used to benefit the Company.

       139.     For each year during the Class Period, Legacy had sufficient cash and equivalents

on hand to satisfy its contribution obligations to the 401(a) Plan. Nevertheless, throughout the

Class Period, Defendants consistently based the decision of how to allocate forfeitures solely on

Legacy’s own self-interests and failed to consider the interests of the 401(a) Plan and its

participants.

       140.     Defendants effectively placed their own interests above the interests of the 401(a)

Plan and its participants and caused harm to the 401(a) Plan and its participants by reducing 401(a)

Plan assets, not allocating forfeited funds to 401(a) Plan participants’ accounts, and also caused

401(a) Plan participants to incur at least $4.8 million in expenses that could otherwise have been

covered in whole or in part by forfeited funds.

                                            COUNT I

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                            Breaches of Fiduciary Duty of Prudence
                               (Against Committee Defendants)

        141.    Plaintiffs re-allege and incorporate herein by reference all prior allegations in this

Complaint as if fully set forth herein.

        142.    At all relevant times, the Committee and its members (“Prudence Defendants”)

were fiduciaries of the Plans within the meaning of ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A),

in that it exercised discretionary authority or control over the administration and/or management

of the Plans or disposition of the Plans’ assets.

        143.    As fiduciaries of the Plans, the Prudence Defendants were subject to the fiduciary

duties imposed by ERISA § 404(a), 29 U.S.C. § 1104(a). These fiduciary duties included managing

the assets of the Plans for the sole and exclusive benefit of Plans’ participants and beneficiaries,

and acting with the care, skill, diligence, and prudence under the circumstances that a prudent

person acting in a like capacity and familiar with such matters would use in the conduct of an

enterprise of like character and with like aims.

        144.    The Prudence Defendants breached these fiduciary duties in multiple respects as

discussed throughout this Complaint. Prudence Defendants did not make decisions regarding the

Plans’ investment lineup based solely on the merits of each investment and what was in the interest

of Plans’ participants. Instead, the Prudence Defendants selected and retained investment options

in the Plans despite poor performance in relation to other comparable investments.

        145.    As a direct and proximate result of the breaches of fiduciary duties alleged herein,

the Plans suffered millions of dollars of losses due to excessive costs and lower net investment

returns. Had Prudence Defendants complied with their fiduciary obligations, the Plans would not

have suffered these losses, and Plans’ participants would have had more money available to them

for their retirement.

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       146.      Pursuant to 29 U.S.C. §§ 1109(a) and 1132(a)(2), the Prudence Defendants are

liable to restore to the Plan all losses caused by their breaches of fiduciary duties, and also must

restore any profits resulting from such breaches. In addition, Plaintiffs are entitled to equitable

relief and other appropriate relief for Defendants’ breaches as set forth in their Prayer for Relief.

       147.      The Prudence Defendants knowingly participated in each breach, knowing that

such acts were a breach, and failed to make any reasonable and timely effort under the

circumstances to remedy the breaches.

                                        COUNT II
                            Breach of Fiduciary Duty of Loyalty
           (Asserted against the Company, the Committee and Board Defendants)

       148.      Plaintiffs re-allege and incorporate herein by reference all prior allegations in this

Complaint as if fully set forth herein.

       149.      At all relevant times, the Company, the Committee Defendants, and the Board

Defendants (“Loyalty Defendants”) were fiduciaries of the 401(a) Plan within the meaning of

ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A), in that they exercised discretionary authority or

control over the administration and/or management of the 401(a) Plan or disposition of the 401(a)

Plan’s assets.

       150.      As fiduciaries of the 401(a) Plan, these Defendants were subject to the fiduciary

duties imposed by ERISA § 404(a), 29 U.S.C. § 1104(a).

       151.      The Loyalty Defendants were required to discharge their duties to the 401(a) Plan

“solely in the interest of the participants and beneficiaries” and “for the exclusive purpose of

providing benefits to participants and their beneficiaries and defraying reasonable expenses of

administering the plans.” Committee Charter, at 3.




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       152.    The Loyalty Defendants failed to exercise their duty of loyalty to the 401(a) Plan

and its participants by utilizing forfeited funds in the 401(a) Plan for the benefit of the Company

instead of the sole interest of the 401(a) Plan participants and beneficiaries.

       153.    The Loyalty Defendants used these 401(a) Plan assets for the purpose of reducing

the Company’s own contributions to the 401(a) Plan, thereby saving the Company millions of

dollars each year at the expense of the 401(a) Plan which received decreased Company

contributions, and its participants and beneficiaries were forced to incur avoidable expense

deductions to their individual accounts.

       154.    As a direct and proximate result of the breaches of fiduciary duties alleged herein,

the 401(a) Plan suffered millions of dollars in losses.

       155.    Pursuant to 29 U.S.C. §§ 1109(a) and 1132(a)(2), the Loyalty Defendants are liable

to restore to the 401(a) Plan all losses caused by their breaches of fiduciary duties, and also must

restore any profits resulting from such breaches. In addition, Plaintiffs are entitled to equitable

relief and other appropriate relief for Defendants’ breaches as set forth in their Prayer for Relief.

       156.    Each Loyalty Defendant is also liable for the breaches of its co-fiduciaries under

29 U.S.C. § 1105(a).

                                          COUNT III
                             Breach of ERISA’s Anti-Inurement Provision
                       (Asserted against the Company and the Board Defendants)

       157.    Plaintiffs re-allege and incorporate herein by reference all prior allegations in this

Complaint as if fully set forth herein.

       158.    Pursuant to 29 U.S.C. § 1103(c)(1), “the assets of a plan shall never inure to the

benefit of any employer and shall be held for the exclusive purpose of providing benefits to




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participants in the plan and their beneficiaries and defraying reasonable expenses of administering

the plan.”

       159.    Because all forfeited 401(a) Plan participant funds are initially placed in the 401(a)

Plan’s trust, these forfeited funds are 401(a) Plan assets.

       160.    The Company’s use of the forfeited funds to defray its own contributions to the

401(a) Plan in order to save itself millions of dollars in funds that the Company would otherwise

have to contribute to the 401(a) Plan, caused the assets of the 401(a) Plan to inure to the benefit of

the Company in violation of 29 U.S.C. § 1103(c)(1).

       161.    Pursuant to 29 U.S.C. §§ 1109(a) and 1132(a)(2), the Loyalty Defendants are liable

to restore to the 401(a) Plan all losses caused by their breaches of ERISA’s anti-inurement

provision, and also must restore any profits resulting from such breaches. In addition, Plaintiffs

are entitled to equitable relief and other appropriate relief for Defendants’ breaches as set forth in

their Prayer for Relief.

       162.    Each Loyalty Defendant is also liable for the breaches of its co-fiduciaries under

29 U.S.C. § 1105(a).

                                          COUNT IV
                       Failure to Adequately Monitor Other Fiduciaries
                        (Asserted against the Company and the Board)

       163.    Plaintiffs re-allege and incorporate herein by reference all prior allegations in this

Complaint as if fully set forth herein.

       164.    Allina and the Board, and its members (the “Monitoring Defendants”), had the

authority to appoint and remove members of the Committee, and the duty to monitor the

Committee and were aware that the Committee Defendants had critical responsibilities as

fiduciaries of the Plans.



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       165.         In light of this authority, the Monitoring Defendants had a duty to monitor the

Committee Defendants to ensure that the Committee Defendants were adequately performing their

fiduciary obligations, and to take prompt and effective action to protect the Plans in the event that

the Committee Defendants were not fulfilling those duties.

       166.         The Monitoring Defendants also had a duty to ensure that the Committee

Defendants possessed the needed qualifications and experience to carry out their duties; had

adequate financial resources and information; and reported regularly to the Monitoring

Defendants.

       167.         The Monitoring Defendants breached their fiduciary monitoring duties by, among

other things:

              (a)       failing to monitor and evaluate the performance of the Committee Defendants

                        or have a system in place for doing so, standing idly by as the Plans suffered

                        significant losses as a result of the Committee Defendants’ imprudent actions;

                        and

              (b)       failing to remove Committee members whose performance were inadequate,

                        all to the detriment of the Plans and Plans’ participants’ retirement savings.

       168.         As a consequence of the foregoing breaches of the duty to monitor, the Plans

suffered millions of dollars of losses. Had the Monitoring Defendants complied with their fiduciary

obligations, the Plans would not have suffered these losses, and the Plans’ participants would have

had more money available to them for their retirement.

       169.         Pursuant to 29 U.S.C. §§ 1109(a) and 1132(a)(2), the Monitoring Defendants are

liable to restore to the Plans all losses caused by their failure to adequately monitor the Committee




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Defendants. In addition, Plaintiffs are entitled to equitable relief and other appropriate relief as set

forth in their Prayer for Relief.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs pray that judgment be entered against Defendants on all claims

and requests that the Court awards the following relief:

        A.      A determination that this action may proceed as a class action under Rule 23(b)(1),

or in the alternative, Rule 23(b)(2) of the Federal Rules of Civil Procedure;

        B.      Designation of Plaintiffs as Class Representatives and designation of Plaintiffs’

counsel as Class Counsel;

        C.      A Declaration that the Defendants have breached their fiduciary duties under

ERISA;

        D.      An Order compelling the Defendants to make good to the Plans all losses to the

Plans resulting from Defendants’ breaches of their fiduciary duties, including losses to the Plans

resulting from imprudent investment of the Plans’ assets, and to restore to the Plans all profits the

Defendants made through use of the Plans’ assets, and to restore to the Plans all profits which the

participants would have made if the Defendants had fulfilled their fiduciary obligations;

        E.      An order requiring the Company to disgorge all profits received from, or in respect

of, the Plans, and/or equitable relief pursuant to 29 U.S.C. § 1132(a)(3) in the form of an

accounting for profits, imposition of a constructive trust, as necessary to effectuate said relief, and

to prevent the Defendants’ unjust enrichment;

        F.      Actual damages in the amount of any losses the Plans suffered, to be allocated

among the participants’ individual accounts in proportion to the accounts’ losses;




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          G.    An order enjoining Defendants from any further violations of their ERISA fiduciary

responsibilities, obligations, and duties;

          H.    Other equitable relief to redress Defendants’ illegal practices and to enforce the

provisions of ERISA as may be appropriate, including appointment of an independent fiduciary or

fiduciaries to run the Plan and removal of Plan fiduciaries deemed to have breached their fiduciary

duties;

          I.    An award of pre-judgment interest;

          J.    An award of costs pursuant to 29 U.S.C. § 1132(g);

          K.    An award of attorneys’ fees pursuant to 29 U.S.C. § 1132(g) and the common fund

doctrine; and

          L.    Such other and further relief as the Court deems equitable and just.

Dated: June 17, 2025                         Respectfully submitted,

                                             /s/ Neil P. Halttunen
                                             Neil P. Halttunen, Esquire (OR 206806)
                                             JARVIS BRIDGE HALTTUNEN & WEYER LLC
                                             484 NE Bovard Avenue
                                             Dallas, OR 97338
                                             Email: halt@jbhwlaw.com
                                             Tel.: (503) 623-6676

                                             Mark K. Gyandoh, Esquire
                                             (Pro Hac Vice to be requested)
                                             James A. Maro, Esquire
                                             (Pro Hac Vice to be requested)
                                             CAPOZZI ADLER, P.C.
                                             312 Old Lancaster Road
                                             Merion Station, PA 19066
                                             Email: markg@capozziadler.com
                                                     jamesm@capozziadler.com
                                             Tel.: (610) 890-0200
                                             Fax: (717) 232-3080

                                             Counsel for Plaintiff and the Putative Class



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